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                           Nos. 23-35440, 23-35450

            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT
                                ____________________

                         UNITED STATES OF AMERICA,
                                           Plaintiff-Appellee,
                                    v.
                               STATE OF IDAHO,
                                            Defendant-Appellant,
                                     v.
   MIKE MOYLE, SPEAKER OF THE IDAHO HOUSE OF REPRESENTATIVES, ET AL.,
                                        Intervenors-Defendants-
                                        Appellants.
                                 ____________________


             On Appeal from the United States District Court
                        for the District of Idaho
                                 ____________________


 BRIEF FOR THE STATES OF CALIFORNIA, NEW YORK, ARIZONA,
   COLORADO, CONNECTICUT, DELAWARE, HAWAI‘I, ILLINOIS,
MAINE, MARYLAND, MASSACHUSETTS, MICHIGAN, MINNESOTA,
     NEVADA, NEW JERSEY, NEW MEXICO, NORTH CAROLINA,
        OREGON, PENNSYLVANIA, RHODE ISLAND, VERMONT,
WASHINGTON, WISCONSIN, AND THE DISTRICT OF COLUMBIA AS
        AMICI CURIAE IN SUPPORT IN SUPPORT OF APPELLEE
Letitia James                             Rob Bonta
 Attorney General                          Attorney General State of
 State of New York                        California
Barbara D. Underwood                      Renu R. George
 Solicitor General                         Senior Assistant Attorney General
Ester Murdukhayeva                        Karli Eisenberg
 Deputy Solicitor General                  Supervising Attorney General
Galen Sherwin                             Hayley Penan
 Special Counsel for Reproductive Justice  Deputy Attorney General
Sarah Coco                                P.O. Box 944255
 Assistant Solicitor General              Sacramento, CA 94244-2550
                                          (916) 210-7785
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         INTRODUCTION AND INTERESTS OF AMICI CURIAE
      Amici States of California, New York, Arizona, Colorado, Connecticut,

Delaware, Hawai‘i, Illinois, Maine, Maryland, Massachusetts, Michigan,

Minnesota, Nevada, New Jersey, New Mexico, North Carolina, Oregon,

Pennsylvania, Rhode Island, Vermont, Washington, Wisconsin, and the District of

Columbia submit this brief in support of appellee the United States of America.

The district court properly granted the federal government’s request for

preliminary injunction against enforcement of Idaho’s near total ban on abortion to

the extent it conflicts with the Emergency Medical Treatment and Labor Act

(EMTALA), 42 U.S.C. § 1395dd.

      Amici have a substantial interest in this case. Amici own and operate

hospital systems subject to EMTALA, employ healthcare personnel, and license

and regulate the many healthcare providers operating within their jurisdictions.

Amici thus have a strong interest in clear guidance regarding obligations arising

under EMTALA.

      Amici also have a strong interest in protecting the rights of their residents

who need emergency medical care while present as students, workers, or visitors in

Idaho and other States that may attempt to prohibit emergency abortion care

contrary to EMTALA’s requirements. In addition, if patients in Idaho are denied

necessary emergency abortion care, they may travel to Amici States (including, but



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not limited to, Oregon and Washington) to receive needed emergency care. These

States would thus experience additional pressures on their already overwhelmed

hospital systems.

      EMTALA, enacted in 1986, has long been a crucial tool in ensuring that

everyone who comes to a hospital emergency department receives an appropriate

medical screening to determine whether they have an emergency medical condition

and assuring that patients are not transferred or discharged until they receive

medical treatment to stabilize any such condition. Amici submit this brief to

highlight that EMTALA has long been interpreted to cover emergency medical

conditions involving or affecting pregnancy for which necessary stabilizing

treatment may include abortion care. That straightforward interpretation of

EMTALA derives from the statute’s text and ensures that individuals with

pregnancy-related emergency medical conditions receive care needed to prevent

death or serious impairment.

      Amici’s experience as healthcare providers confirms that emergency

abortion care is necessary to avoid serious harmful outcomes in numerous

situations, including patients with an ectopic pregnancy, severe preeclampsia,

pregnancy loss complications, and other medical conditions for which immediate

medical attention is needed. Amici have long understood that abortion care is part

of emergency care and their experience establishes that failing to provide


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stabilizing abortion care when needed to address emergency medical conditions

will cause serious patient and provider harms in Idaho and other States. These

harms provide a strong basis for the injunctive relief granted by the district court.

                                     ARGUMENT
I.   EMTALA HAS LONG BEEN INTERPRETED TO REQUIRE THE
     TREATMENT OF PREGNANCY-RELATED CONDITIONS THAT NEED
     EMERGENCY ABORTION CARE
      EMTALA applies to any hospital that operates an emergency department

and participates in Medicare—criteria met by virtually every hospital in the

country. 1 Under EMTALA, if “any individual” presents at a hospital’s emergency

department for examination or treatment, the hospital must provide an appropriate

medical screening to determine whether an emergency medical condition exists. 42

U.S.C. § 1395dd(a). If the screening indicates the patient has an emergency

medical condition, the hospital cannot transfer or discharge the patient until it

provides “treatment as may be required to stabilize the medical condition,” unless

the transfer is specifically authorized by the statute. Id. § 1395dd(b)-(c). The

hospital may also admit the patient as an inpatient in good faith to stabilize the


      1
        See Joseph Zibulewsky, The Emergency Medical Treatment and Active
Labor Act (EMTALA): What It Is and What It Means for Physicians, 14 Baylor
Univ. Med. Ctr. Proc. 339, 340 (2001),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1305897/; Nathan Richards,
Judicial Resolution of EMTALA Screening Claims at Summary Judgment, 87
N.Y.U. L. Rev. 591, 601 & n.52 (May 2012), https://www.nyulawreview.org/wp-
content/uploads/2018/08/NYULawReview-87-2-Richards.pdf.

                                           3
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emergency medical condition. 42 C.F.R. § 489.24(d)(2)(i). An “emergency

medical condition” is “a medical condition manifesting itself by acute symptoms of

sufficient severity (including severe pain) such that the absence of immediate

medical attention could reasonably be expected to result in” (i) placing the health

of the individual in serious jeopardy, or with respect to a pregnant individual, the

health of the individual or the fetus, (ii) serious impairment to bodily functions, or

(iii) serious dysfunction of any bodily organ or part. 42 U.S.C. § 1395dd(e)(1)(A).

Stabilizing the emergency medical condition involves providing “such medical

treatment of the condition as may be necessary to assure, within reasonable

medical probability, that no material deterioration of the condition is likely to

result from or occur during the transfer of the individual.” Id. § 1395dd(e)(3)(A).

An emergency medical condition also exists with respect to a pregnant individual

who is in active labor and having contractions, when there is inadequate time for a

safe transfer before delivery or such transfer may pose a threat to the health or

safety of the pregnant person or the fetus. Id. § 1395dd(e)(1)(B). Stabilizing the

patient in this circumstance may include delivery. Id. § 1395dd(e)(3)(B). Nothing

in EMTALA excludes any conditions or categories of medical care from the

statute’s requirements.

      There are many pregnancy-related emergency medical conditions that do not

involve active labor, including ectopic pregnancy, traumatic placental abruption


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(separation), hemorrhages, pre-labor rupture of membranes, placenta previa,

amniotic fluid embolism, and emergent hypertensive disorders including

preeclampsia with severe features. 2 These conditions all trigger EMTALA’s

obligation to provide stabilizing care since in the absence of immediate treatment,

all of them would reasonably be expected to result in serious jeopardy to the

individual’s health, serious impairment to bodily functions, or serious dysfunction

of a bodily organ. See id. § 1395dd(e)(1)(A). Absent several exceptions not

relevant here, EMTALA mandates that the individual with such a condition cannot

be transferred or discharged until the hospital provides stabilizing treatment. See

id. § 1395dd(b)-(c).

      For decades, the federal government and courts throughout the country have

interpreted EMTALA to require treatment for emergency conditions relating to

pregnancy and have concluded that such treatment may include emergency

abortion care. More than a decade ago, in the context of federal conscience refusal

laws that might otherwise allow a physician to refuse to perform an abortion, the



      2
        See Geoffrey Chamberlain & Philip Steer, ABC of Labour Care: Obstetric
Emergencies, 318 BMJ 1342, 1342-45 (1999),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1115721/; Eric Nadel & Janet
Talbot-Stern, Obstetric and Gynecologic Emergencies, 15 Emergency Med.
Clinics of N. Am. 389, 389-97 (1997); Lisa Wolf et al., Triage Decisions Involving
Pregnancy-Capable Patients: Educational Deficits and Emergency Nurses’
Perceptions of Risk, 52 J. Continuing Educ. Nursing 21, 21-29 (2021).



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U.S. Department of Health and Human Services (HHS) acknowledged that

EMTALA may require abortion care in appropriate circumstances in a rule

implementing such laws. 3 Likewise, in September 2021, Centers for Medicare and

Medicaid Services (CMS) issued guidance on EMTALA restating that emergency

medical conditions include pregnancy-related conditions and describing required

stabilizing treatment as including abortion care when medically indicated.4 HHS’s

Office of Inspector General has also brought enforcement actions against hospitals

for EMTALA violations involving pregnancy-related emergency medical

conditions. See Burditt v. U.S. Dep’t Health & Hum. Servs., 934 F.2d 1362, 1367-

76 (5th Cir. 1991) (affirming enforcement action against hospital where pregnant

individual presented with severe hypertension).5


      3
       See Regulation for the Enforcement of Federal Health Care Provider
Conscience Protection Laws, 76 Fed. Reg. 9,968, 9,973 (Feb. 23, 2011).
      4
        See Mem. from Dirs., Quality, Safety & Oversight Grp. & Survey &
Operations Grp., CMS, to State Survey Agency Dirs. (Sept. 17, 2021),
https://www.cms.gov/files/document/qso-21-22-hospital.pdf.
      5
         See also HHS & Dep’t of Justice, Health Care Fraud and Abuse Control
Program Annual Report for Fiscal Year 2019, at 45 (2020),
https://oig.hhs.gov/publications/docs/hcfac/FY2019-hcfac.pdf (describing
enforcement action involving pregnant individual with preeclampsia); HHS, Off.
Inspector Gen., Semi-Annual Report to Congress: April 1 – September 30, 2015, at
37 (2015), https://oig.hhs.gov/reports-and-
publications/archives/semiannual/2015/sar-fall15.pdf (same, pregnant individual
with abdominal and lower back pain symptoms); HHS, Off. Inspector Gen., Semi-
Annual Report to Congress: April 1, 2007 – September 30, 2007, at 26 (2007),
https://oig.hhs.gov/publications/docs/semiannual/2007/SemiannualFinal2007.pdf


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      Most recently, in July 2022, CMS issued guidance reiterating EMTALA’s

obligations regarding patients who are pregnant or experiencing pregnancy loss.6

The CMS guidance restates EMTALA’s requirement that determinations regarding

whether an individual has an emergency medical condition and, if so, what

stabilizing treatment is needed before transfer or discharge, are medical

determinations for which the treating physician is responsible. The guidance also

notes that numerous pregnancy-related conditions may constitute emergency

medical conditions under EMTALA, including emergent hypertensive disorders

like preeclampsia with severe features, ectopic pregnancy, or pregnancy loss

complications. And the guidance reminds hospitals and physicians that if the

treating physician determines that abortion is the appropriate stabilizing medical

treatment for an emergency medical condition, EMTALA requires that a physician

provide that treatment if the hospital has the capacity for such treatment.

      Consistent with the federal government’s interpretation of EMTALA, courts

throughout the country have repeatedly found pregnancy-related emergency



(same, symptoms of vaginal bleeding, cramps, and decreased fetal movement);
HHS, Off. Inspector Gen., Semi-Annual Report to Congress: October 1, 1999 –
March 30, 2000, at 32-33 (2000),
https://oig.hhs.gov/publications/docs/semiannual/2000/00ssemi.pdf (same,
symptom of sharp abdominal pain).
      6
        See Mem. from Dirs., Quality, Safety & Oversight Grp. & Survey &
Operations Grp., CMS, to State Survey Agency Dirs. (July 11, 2022),
https://www.cms.gov/files/document/qso-22-22-hospitals.pdf.

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conditions fall within the scope of EMTALA. See, e.g., Morales v. Sociedad

Española de Auxilio Mutuo y Beneficencia, 524 F.3d 54, 55-62 (1st Cir. 2008)

(ectopic pregnancy); Morin v. Eastern Me. Med. Ctr., 779 F. Supp. 2d 166, 168-69,

185 (D. Me. 2011) (16-week-pregnant patient having contractions without fetal

cardiac activity); McDougal v. Lafourche Hosp. Serv. Dist. No. 3, No. 92-cv-2006,

1993 U.S. Dist. LEXIS 7381, at *1 (E.D. La. May 24, 1993) (pregnant patient with

vaginal bleeding).

      Courts have also consistently interpreted EMTALA as requiring abortion

services when needed to stabilize an emergency medical condition. See Ritten v.

Lapeer Reg’l Med. Ctr., 611 F. Supp. 2d 696, 712-18 (E.D. Mich. 2009) (applying

EMTALA’s anti-retaliation provision to doctor who refused to transfer patient in

unstable condition who may have needed abortion); see also New York v. U.S.

Dep’t Health & Hum. Servs., 414 F. Supp. 3d 475, 538 (S.D.N.Y. 2019) (holding

that federal rule allowing physicians to refuse to perform or assist with abortion

was not in accordance with law as it would “create[], via regulation, a conscience

exception to EMTALA’s mandate”). Numerous courts have held that patients of

physicians who perform abortions must be admitted to the emergency department

under EMTALA regardless of whether the treating physician has admitting

privileges at the hospital. See, e.g., Planned Parenthood of Wis., Inc. v. Van

Hollen, 738 F.3d 786, 787-88 (7th Cir. 2013); June Med. Servs. LLC v. Kliebert,


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250 F. Supp. 3d 27, 64 (M.D. La. 2017), rev’d on other grounds sub nom., June

Med. Servs. LLC v. Gee, 905 F.3d 787 (5th Cir. 2018), rev’d sub nom., June Med.

Servs. LLC v. Russo, 140 S. Ct. 2103 (2020); Planned Parenthood of Greater Tex.

Surgical Health Servs. v. Abbott, 951 F. Supp. 2d 891, 899-900 (W.D. Tex. 2013),

rev’d on other grounds, 748 F.3d 583 (5th Cir. 2014). Under the reasoning of these

decisions, if a patient presents at the emergency department with an incomplete

abortion, EMTALA requires that the patient receive stabilizing emergency

abortion care. See June Med. Servs., 250 F. Supp. 3d at 62, 64.

      Finally, courts have long interpreted EMTALA as protecting patients from

“being turned away from emergency rooms for non-medical reasons.” Bryan v.

Rectors & Visitors of the Univ. of Va., 95 F.3d 349, 351 (4th Cir. 1996). Thus,

“courts have declined to read exceptions into EMTALA’s mandate,” including

exceptions allowing transfers based on a physician’s religious, moral, or ethical

refusal to provide specified stabilizing treatment. New York, 414 F. Supp. 3d at 537

(collecting cases); see In re Baby “K”, 16 F.3d 590, 597 (4th Cir. 1994); Cleland

v. Bronson Health Care Grp., Inc., 917 F.2d 266, 272 (6th Cir. 1990) (observing

that EMTALA’s plain text prohibits a hospital from refusing treatment based on

“political or cultural opposition”). Consequently, liability for failure to provide

stabilizing treatment is not dependent on the physician’s or hospital’s motive.




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Roberts v. Galen of Va., Inc., 525 U.S. 249, 253 (1999); see Burditt, 934 F.2d at

1373 (same, failure to effect proper transfer).

      Appellants’ argument that EMTALA does not require emergency abortion

care (Br. of Appellant State of Idaho at 19-25; Br. of Intervenors-Appellants Idaho

Legislature at 30, 33-34) ignores this longstanding interpretation. See supra at 3-

10. As the district court correctly concluded, EMTALA requires providers who

have the capacity to do so to offer emergency abortion care when an abortion is

necessary to avoid placing an individual’s health in serious jeopardy, serious

impairment to bodily functions, or serious dysfunction of any bodily organ. See

United States v. Idaho, 623 F. Supp. 3d 1096, 1109-10 (D. Idaho 2022); United

States v. Idaho, No. 1:22-cv-00329-BLW, 2023 WL 3284977, at *4 (D. Idaho May

4, 2023) (denying motion for reconsideration). For example, as the district court

observed, a pregnant patient may arrive at the emergency department with

symptoms indicating severe preeclampsia. Severe preeclampsia may qualify as an

emergency medical condition requiring abortion as a stabilizing treatment under

EMTALA if a physician concludes that it could reasonably be expected to result in




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serious impairment to the patient’s bodily functions. See Idaho, 623 F.3d at 1104-

05.7

       Appellants are likewise incorrect that the longstanding interpretation of

EMTALA as requiring abortion services when needed to stabilize an emergency

medical condition ignores language in EMTALA imposing duties with respect to

the health of both a pregnant individual and the fetus. See Br. of Appellant State of

Idaho at 23-24; Br. of Intervenor-Appellant Idaho Legislature at 35-42. Appellants

reason that the abortion itself could precipitate an emergency medical condition

because it places the health of the fetus in jeopardy. But a fetus does not have a

condition requiring “immediate medical attention” when a stabilizing abortion is

offered under EMTALA; instead, the abortion is proposed as the appropriate

stabilization for a pregnant person’s emergency medical condition. See 42 U.S.C.

§ 1395dd(e)(1)(A). Under such circumstances, the hospital has a duty under

EMTALA to provide stabilizing treatment to the pregnant individual.

       In rare circumstances where both the pregnant individual and fetus

simultaneously have emergency medical conditions, the text of EMTALA resolves

any potential conflict in the physician’s duties by leaving to the pregnant patient




       7
        See also Complaint (Aug. 2, 2022) at 2, 7 (ECF No. 1), United States v.
Idaho, No. 1:22-cv-329 (Aug. 2, 2022); Mem. from Dirs., Quality, Safety &
Oversight Grp. & Survey & Operations Grp., supra note 6.

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the choice whether to pursue stabilizing abortion care or continue gestation: the

pregnant individual can grant or refuse consent for either treatment. See 42 U.S.C.

§ 1395dd(b)(2) (hospital’s duty to provide stabilizing treatment is met where it

offers the treatment, explains the risks and benefits, and the individual refuses to

consent). EMTALA by its plain terms thus treats abortion the same as any other

stabilizing medical treatment.

II.   FOR DECADES, STATES HAVE UNDERSTOOD THAT ABORTION CARE IS
      PART OF EMERGENCY CARE
      Hospitals in nearly all Amici States regularly provide abortion care to

stabilize many emergency medical conditions, including severe pregnancy

complications, pregnancy loss complications, pre-labor rupture of membranes,

ectopic pregnancy, emergent hypertensive disorders including preeclampsia with

severe features, and incomplete abortion. Often, pregnant patients face

unforeseeable emergency medical conditions and need abortion care to protect

their lives and prevent severe and disabling injury to their health, regardless of

whether they wanted and intended the pregnancy. As the American College of

Obstetricians and Gynecologists has explained, pregnancy complications “may be

so severe that abortion is the only measure to preserve a woman’s health or save




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her life.”8 In Amici’s experience, emergent conditions and conditions likely to

become emergent can require abortion care to avoid serious harm.

     Accordingly, abortion care has regularly been provided by hospitals in almost

all Amici States to stabilize emergency medical conditions. In New York, for

example, from 2019 through 2021, 16,216 abortions were performed for patients

presenting at the emergency department, with 2,969 abortions performed within

the emergency department, 5,244 abortions performed during an inpatient stay

after presenting to the emergency department, and 8,003 abortions performed by

ambulatory surgery. 9 In Massachusetts, from 2019 through 2022, 1,866

MassHealth patients received abortion services in hospital emergency departments.

     Provider accounts likewise demonstrate that abortion is a regular and critical

part of emergency healthcare. A physician at Oregon’s public academic health

center, Oregon Health & Science University, described often receiving transfers

that require urgent or emergent pregnancy termination, including pregnant patients

with hemorrhages due to placenta previa and placental abruption, peri-viable



      8
       Facts Are Important: Abortion Is Healthcare, Am. Coll. Obstetricians &
Gynecologists (ACOG) (2022), https://www.acog.org/advocacy/facts-are-
important/abortion-is-healthcare.
      9
       The data for 2020-2021 is not yet finalized and may be underinclusive. For
the 2019-2021 data, medication abortion was the predominant method for
procedures within the emergency department (2,596 of the 2,969 procedures), but
made up only a small percentage of abortions performed in inpatient (277 of 5,244)
and ambulatory surgery (69 of 8,003) settings.

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premature rupture of membranes with sepsis, peri-viable severe decompensating

preeclampsia, acute leukemia, ectopic pregnancies, and hemorrhaging pregnancy

loss, among other conditions. The Illinois Department of Public Health’s Office of

Women’s Health and Family Services similarly reported instances of patients

needing emergency surgery to end their pregnancy. Providers at one New Jersey

hospital have also reported the regular use of abortion in emergency settings to

treat pregnancy loss where the uterus is infected or at risk of infection, ectopic

pregnancies, severe preeclampsia, and molar pregnancy (nonviable abnormally

fertilized egg that can act like a malignancy and is at high risk of metastasizing),

for which no other treatment is available. And in Washington, hospitals regularly

provide abortions to stabilize many emergency medical conditions. Indeed, some

Washington hospitals that do not regularly provide abortion care in non-emergency

settings explicitly permit abortion when it is the appropriate treatment of an

emergency condition and therefore required under EMTALA. 10




      10
         See, e.g., Wash. State Dep’t Health, Hospital Reproductive Health
Services for Ferry County Memorial Hospital, at 1-2 (Aug. 29, 2019),
https://doh.wa.gov/sites/default/files/hospital-policies/FerryCountyRHSF.pdf;
Wash. State Dep’t Health, Hospital Reproductive Health Services for Lourdes
Hospital, at 1 (Sept. 3, 2019), https://doh.wa.gov/sites/default/files/hospital-
policies/LourdesRHSF.pdf; Wash. State Dep’t Health, Hospital Reproductive
Health Services for Virginia Mason Memorial Hospital, at 1-2 (Aug. 30, 2019),
https://doh.wa.gov/sites/default/files/legacy/Documents/2300/HospPolicies/Virgini
aMasonMemorialRHSF.pdf.

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III. FAILURE TO PROVIDE EMERGENCY ABORTION CARE WHEN REQUIRED
     CAUSES SERIOUS HARMS TO PATIENTS AND PROVIDERS IN IDAHO AND
     AMICI STATES
     The district court’s order enjoining enforcement of Idaho’s abortion ban when

it conflicts with EMTALA protects patients in Idaho and elsewhere, and should be

affirmed. The district court did not abuse its discretion in enjoining Idaho’s

abortion ban to the extent it conflicts with EMTALA, particularly given the

equities and public interest considerations. See Marlyn Nutraceuticals, Inc. v.

Mucos Pharma GmbH & Co., 571 F.3d 873, 876 (9th Cir. 2009); Los Angeles v.

Lyons, 461 U.S. 95, 136 (1983) (“Courts of equity have much greater latitude in

granting injunctive relief ‘in furtherance of the public interest than . . . when only

private interests are involved.’”). As Amici’s experience demonstrates, the relief

ordered by the district court helps safeguard the health of patients in Idaho, avoids

further pressuring the already overwhelmed capacity of hospitals in neighboring

states, and protects the public health.

     A.   Prohibiting Physicians from Providing Emergency Abortions
          Egregiously Harms Pregnant Patients
     Pregnancy- and pregnancy loss-related complications can be emergency

medical conditions requiring urgent stabilizing treatment that can include abortion;

in such case any failure or delay in providing necessary abortion care puts the




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pregnant patient’s life or health at risk.11 As one example, a physician explained

that a clear sign of uterine infection can be life threatening “because there is an

extremely high risk that the infection inside of the uterus spreads very quickly into

[the patient’s] bloodstream and she becomes septic. If she continues the pregnancy

it comes at a very high risk of death.”12 Another observed, “under certain

conditions, continuing a pregnancy could significantly increase the morbidity risk

for the pregnant person or even jeopardize their life. . . . [F]or people with certain

cardiovascular disease conditions, like Eisenmenger’s syndrome and pulmonary

hypertension, carrying a pregnancy could cause as high as a 40% risk of maternal

death.”13


      11
           See, e.g., Fact Check – Termination of Pregnancy Can Be Necessary to
Save a Woman’s Life, Experts Say, Reuters (Dec. 27, 2021),
https://www.reuters.com/article/factcheck-abortion-false/fact-check-termination-
of-pregnancy-can-be-necessary-to-save-a-womans-life-experts-say-
idUSL1N2TC0VD (discussing, e.g., that placental abruption presents a risk of
hemorrhage, which if left untreated, threatens the pregnant person’s life and that
preeclampsia if not treated quickly can result in the pregnant person’s death); Facts
Are Important: Understanding Ectopic Pregnancy, ACOG (2022),
https://www.acog.org/advocacy/facts-are-important/understanding-ectopic-
pregnancy#:~:text=An%20ectopic%20pregnancy%20occurs%20when,%2C%20ov
ary%2C%20and%20cesarean%20scar (advising “[a]n untreated ectopic pregnancy
is life threatening; withholding or delaying treatment can lead to death”).
      12
           Fact Check – Termination of Pregnancy, supra note 11.
      13
         Sarah Friedmann, What a Medical Emergency for an Abortion Actually
Means, According to OB/GYNs, Bustle (June 6, 2019),
https://www.bustle.com/p/what-a-medical-emergency-for-abortion-actually-
means-according-to-obgyns-17929296.



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     Confusion regarding the legality of abortion as emergency medicine harms

patients. As one physician explained, “‘[e]mergency’ exists on a continuum,” and

if the law does not clearly enable physicians to determine when a patient has an

emergency medical condition, it forces “a physician [to] withhold evidence-based

care until a patient develops an unambiguous emergency with significantly

increased morbidity and mortality, such as septic shock and multisystem organ

failure.” 14 Such delays produce grave risks because physicians cannot easily

forecast when a pregnant patient’s death or serious impairment becomes imminent

during a medical emergency. 15 The risks are exacerbated by the fact that “[m]any

pregnant individuals are young and healthy; thus, they are able to compensate for

severe physiologic derangements and might not appear ill until very late in their

course of critical illness.”16 As Lisa Harris, University of Michigan professor of

reproductive health, discussed, “there are many circumstances in which it is not


      14
        Andrea MacDonald et al., The Challenge of Emergency Abortion Care
Following the Dobbs Ruling, 328 JAMA 1691-92 (Nov. 1, 2022).
      15
          See Tina Reed, Defining “Life-Threatening” Can Be Tricky in Abortion
Law Exceptions, Axios (June 28, 2022),
https://www.axios.com/2022/06/28/abortion-ban-exceptions-women-medical-
emergencies. For example, Utah-based obstetrician Lori Gawron explained that if a
pregnant patient experiences a ruptured membrane in the second trimester, there is
a greater risk of infection and “[i]f the infection progresses to sepsis, the maternal
life is absolutely at risk. But we can’t say how long that will take or how severe the
infection will get in that individual.” Id.
      16
           MacDonald et al., supra, note 14.



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clear whether a patient is close to death.” 17 She explained, “It’s not like a switch

that goes off or on that says, ‘OK, this person is bleeding a lot, but not enough to

kill them,’ and then all of a sudden, there is bleeding enough to kill them. . . . It’s a

continuum, so even how someone knows where a person is in that process is really

tricky.’” 18

      However, data reflects that “withholding evidence-based care to have clear

documentation of an unambiguous threat to life is dangerous”; “every hour of

delayed care increases the patient’s likelihood of dying by approximately 4%.” 19

Thus, “the longer emergency abortions are delayed, the greater risk that lifesaving

interventions might not be effective and pregnant individuals could experience

morbidity and mortality.” 20




        Aria Bendix, How Life-Threatening Must a Pregnancy Be to End It
       17

Legally?, NBC News (June 30, 2022), https://www.nbcnews.com/health/health-
news/abortion-ban-exceptions-life-threatening-pregnancy-rcna36026.
       18
          Id. Dr. Harris also impressed that confusion about when the medical
emergency becomes sufficiently life-threatening for intervention under state law
likely delays intervention “to that very last minute when it’s clear that a patient
will die to do the procedure, and that’s just not an ideal time to do any kind of
intervention.” Id.
       19
            MacDonald et al., supra note 14.
       20
            Id.



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     Regrettably, examples abound of patients suffering grave harm when they do

not receive necessary emergency abortion care. 21 For example, following the

Supreme Court’s decision in Dobbs v. Jackson Women’s Health Organization,

determining when an abortion is allowed under Texas law became “fraught with

uncertainty and legal risk,” forcing doctors to “significantly alter the care they

provide to women whose pregnancy complications put them at high risk of

harm.” 22 As a result, Amanda Zurawski, the named plaintiff in a lawsuit

challenging Texas’ abortion laws, was “forced to wait until she was septic to

receive abortion care, causing one of her fallopian tubes to become permanently

closed.”23 The court found that ongoing enforcement of the law created an

imminent risk “that physicians throughout Texas will have no choice but to bar or

delay the provision of abortion care to pregnant persons in Texas.” 24




      21
         See Frances Stead Sellers & Fenit Nirappil, Confusion Post-Roe Spurs
Delays, Denials for Some Lifesaving Pregnancy Care, Wash. Post (July 16, 2022),
https://www.washingtonpost.com/health/2022/07/16/abortion-miscarriage-ectopic-
pregnancy-care/.
      22
         J. David Goodman & Azeen Ghorayshi, Women Face Risks as Doctors
Struggle With Medical Exceptions on Abortion, N.Y. Times (July 20, 2022),
https://www.nytimes.com/2022/07/20/us/abortion-save-mothers-life.html.
      23
           Zurawski v. Texas, No. D-1-GN-23-000968 (Tex. Dist. Ct. filed Mar. 6,
2023).
      24
           Id. (Aug. 4, 2023 order granting temporary injunction).



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      Likewise, in Idaho, without the district court’s injunction, doctors would be

forced to delay or alter their treatment of pregnant individuals due to fears of

criminalization or other legal ramifications.25 Idaho OBGYN Dr. Emily Corrigan

explained that before the injunction went into effect, the Idaho ban was “already

harming women in Idaho. . . . [T]he threat of criminal prosecution has already

deterred doctors from providing medically necessary, life-saving care.” 26 Another



      25
          Seyb Decl. (Aug. 8, 2022) at 4-5 (ECF No. 17-8), U.S. v. Idaho, No. 1:22-
cv-329 (Aug. 2, 2022) (describing provider’s strong desire to transfer a patient
with serious bleeding rather than perform necessary pregnancy termination, prior
to the injunction, due to fears of the legal consequences of proceeding with
termination); Corrigan Decl. (Aug. 8, 2022) at 8 (ECF No. 17-6), U.S. v. Idaho,
No. 1:22-cv-329 (describing scenarios where Idaho ban would interfere with
providers’ ability to provide the standard of care in life-threatening pregnancy
complications); Cooper Decl. (ECF No. 17-7), U.S. v. Idaho, No. 1:22-cv-329
(describing provider’s concern about personal risk of offering medically necessary
emergency abortion care). Despite the preliminary injunction, there has been at
least one report of delayed care due to fears and confusion about the implications
of Idaho’s abortion ban. See Mary Kekatos, Idaho woman shares 19-day
miscarriage on TikTok, says state’s abortion laws prevented her from getting care,
ABC News (Jan. 21, 2023), https://abcnews.go.com/Health/idaho-woman-shares-
19-day-miscarriage-tiktok-states/story?id=96363578.
      26
         Corrigan Decl. (Aug. 8, 2022) at 8 (ECF No. 17-6), U.S. v. Idaho, No.
1:22-cv-329; see also Lisa Baumann, Idaho abortion law one reason hospital
won’t deliver babies, AP News (Mar. 23, 2023),
https://apnews.com/article/hospital-baby-delivery-idaho-abortion-ban-
040fb50e0e069967efcb3fcd72a56677 (Dr. Amelia Huntsberger, Idaho OBGYN
described, “[D]elaying medical care until we can say an abortion is necessary to
prevent death is dangerous. . . . Patients will suffer pain, complications, and could
die if physicians comply with Idaho law as written.”); Oriana González, Report:
Abortion bans led to life-threatening health complications, Axios (May 16, 2023),
https://www.axios.com/2023/05/16/abortion-bans-life-threatening-complications-


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reproductive healthcare provider in Boise, Dr. Lauren Miller, described how the

law puts doctors in an impossible position: “If I don’t act fast enough to save your

life, prevent you from getting septic, I could be liable for civil cases . . .

malpractice. But if I act too quickly and I’m not 100% certain that the patient is

going to die from the complication she’s sustaining, then I could be guilty of a

felony.” 27 Another provider, Dr. Frank Johnson, described how providers’ worries

about criminalization under Idaho’s abortion ban had caused delays in care because

“[t]he teams are asking for input, feedback, and they’re reaching out to our legal

team to help make sure they’re compliant with the law as it’s currently written . . .

[a]nd that’s creating stress, anxiety and potential for delay that wasn’t there

previously.” 28 And as Dr. Corrigan described, often “in emergency situations,

many of which present in the middle of the night, physicians do not have time to

consult with lawyers about whether a decision they believe is warranted by the


death (describing report in which doctors confidentially/anonymously shared
anecdotes of pregnant patients’ lives being put at risk due to state abortion
restrictions, including patient(s) from Idaho).
      27
         Randi Kaye & Stephen Samaniego, Idaho’s murky abortion law is driving
doctors out of the state, CNN (May 13, 2023),
https://www.cnn.com/2023/05/13/us/idaho-abortion-doctors-drain/index.html.
      28
         Angela Palermo, Keeping doomed fetuses alive: How doctors say Idaho’s
abortion law disrupts care, Id. Statesman (Aug. 27, 2022),
https://www.idahostatesman.com/living/health-fitness/article264970909.html;
Corrigan Decl. (Aug. 8, 2022) at 8 (ECF No. 17-6), U.S. v. Idaho, No. 1:22-cv-
329.



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standard of care and therefore in the best interest of the patient will result in a

financially ruinous investigation into their practice or in criminal liability.” 29 These

delays result in “[i]ncreased risk and mortality for pregnant women.”30

     Idaho’s abortion ban has also had other harmful effects on healthcare access

in Idaho: the ban has made it more difficult to recruit OBGYNs to Idaho, where

there was already an OBGYN shortage before the Idaho abortion ban 31; the ban has

also led to reproductive healthcare providers leaving the state 32 and to the closure


      29
        Corrigan Decl. (Aug. 8, 2022) at 8 (ECF No. 17-6), U.S. v. Idaho, No.
1:22-cv-329.
      30
         Palermo, supra note 28; Corrigan Decl. (Aug. 8, 2022) at 8 (ECF No. 17-
6), U.S. v. Idaho, No. 1:22-cv-329 (“[T]ime spent by physicians in court defending
their medical decisions will keep them from their clinical duties for significant
periods of time. This will add to the shortages in hospital and clinic coverage,
increasing the workload of their practice partners as well as increasing wait times
for patients.”); id. at 9 (“[C]riminaliz[ing] abortion, even in many medically
necessary circumstances, in a state where there is both a shortage of qualified
physicians and a disproportionate number of high-risk pregnancies… puts the
health of Idaho women at significant risk.”).
      31
           See Maternity Care Desert: Data from Idaho, March of Dimes (Oct.
2022),
https://www.marchofdimes.org/peristats/data?reg=99&top=23&stop=641&lev=1&
slev=4&obj=9&sreg=16.
      32
         See Corrigan Decl. (Aug. 8, 2022) at 8 (ECF No. 17-6), U.S. v. Idaho, No.
1:22-cv-329 (“Idaho Code § 18-622 is also making it even more difficult to recruit
Ob-Gyns to the State of Idaho” because it places providers in “a very difficult
position because of a conflict between the State law and [their] ethical obligations
to patients and [their] obligations under Federal law” and at least one doctor
“decided to stop her part-time work at [their] hospital due to the stress of
complying with” Idaho’s abortion ban); see also Kaye & Samaniego, supra note 27
(describing how doctors “who care for pregnant women and perform[] abortions –


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of at least one hospital’s maternity ward. 33 Indeed, in explaining its decision to

close its maternity ward, that hospital pointed to Idaho’s laws subjecting

physicians to the risk of “civil lawsuits and criminal prosecution, leading to jail

time or fines” merely for providing the standard of care. 34 Such outcomes will

likely worsen existing barriers to accessing prenatal care, and in turn, drive up rates

of serious pregnancy complications.35 Vulnerable patients living in maternity care

and abortion care deserts also risk losing access to other critical reproductive

health services performed by OBGYNs, including gynecologic oncology care,




are fleeing the state due to new abortion restrictions,” including an example of a
reproductive healthcare provider, Dr. Lauren Miller, who reported that she was
planning to leave Idaho due to fears that she could be “tried as a felon simply for
saving someone’s life”).
      33
           See Baumann, supra note 26.
      34
        Press Release 3/17/2023, Discontinuation of Labor & Deliver Services at
Bonner General Hospital, Bonner General Health, https://bonnergeneral.org/wp-
content/uploads/2023/03/Bonner-General-Health-Press-Release-Closure-of-LD-
3.17.2023.pdf.
      35
         See March of Dimes, Nowhere to Go: Maternity Care Deserts Across the
U.S., 2022 Report (2022), https://www.marchofdimes.org/sites/default/files/2022-
10/2022_Maternity_Care_Report.pdf; Commonwealth Fund, The U.S. Maternal
Health Divide: The Limited Maternal Health Services and Worse Outcomes of
States Proposing New Abortion Restrictions,
https://www.commonwealthfund.org/publications/issue-briefs/2022/dec/us-
maternal-health-divide-limited-services-worse-outcomes.



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infertility treatment, contraceptive access, and other preventative care. 36 These

harms would be further exacerbated by a ruling that permits the statute to go into

effect as to emergency abortion care.

     B.    Prohibiting Physicians from Providing Emergency Abortion
           Care in Idaho Harms Amici States
     Vacating the injunction would cause significant harms in Amici States.

Severe restrictions on abortion care in states restricting abortion, including Idaho,

have already placed extreme strain on healthcare systems in Amici States by

forcing patients to travel to these states when they are in need of acute care.37

Without the injunction, Idaho’s ban will predictably result in even more pregnant




      36
         See Subspecialties of OB-GYN, ACOG (2023)
https://www.acog.org/career-support/medical-students/medical-student-
toolkit/subspecialties-of-ob-gyn.
      37
         See Margot Sanger-Katz et al., Interstate Abortion Travel Is Already
Straining Parts of the System, N.Y. Times (July 23, 2022),
https://www.nytimes.com/2022/07/23/upshot/abortion-interstate-travel-
appointments.html; Oriana González & Nicole Cobler, Influx of Out-of-State
Patients Causes Abortion Delays, Axios (Sept. 12, 2022),
https://www.axios.com/local/austin/2022/09/12/texans-out-of-state-patients-
abortions-delays; Laura Kusisto, Doctors Struggle with Navigating Abortion Bans
in Medical Emergencies, Wall Street J. (Oct. 13, 2022),
https://www.wsj.com/articles/doctors-struggle-with-navigating-abortion-bans-in-
medical-emergencies-11665684225?mod=politics_lead_pos9; Ian Millhiser, No
one knows when it is legal to perform medically necessary abortions in Texas, Vox
(Mar. 12, 2023), https://www.vox.com/politics/2023/3/12/23631278/supreme-
court-abortion-texas-medically-necessary-sepsis-zurawski (describing situations
where women with serious conditions were forced to travel to Amici for care).



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people traveling to Amici States to seek medical care, resulting in crowded waiting

rooms and increasing waiting times for time-sensitive healthcare services.38

     As a general matter, studies have repeatedly reflected that state abortion

restrictions force many pregnant individuals to travel out of state for care.39 These

numbers have risen as state legislatures pass ever more restrictive laws. For

instance, even before the Supreme Court’s decision in Dobbs, in 2017, over 30%

of all Idaho residents who received an abortion had to leave the state to do so. 40

Immediately following Dobbs, in eastern Washington, clinics reported a massive

influx of patients from Idaho; one clinic reported that 78% of its patients in July




      38
         Due to the recency of Idaho’s law and the mixed status of the law in
Amici States, not all have the same definitively measurable overflow at present.
But all Amici share a strong interest in protecting their residents who travel to
Idaho, or to other states that will be emboldened to adopt laws like Idaho’s. The
domino effects of lifting the injunction will surely affect Amici States in one way
or another, to the extent they are not already.
      39
          Mikaela Smith et al., Abortion Travel Within the United States: An
Observational Study of Cross-State Movement to Obtain Abortion Care in 2017,
10 The Lancet – Reg’l Health: Americas art. 100214 (Mar. 3, 2022),
https://www.sciencedirect.com/science/article/pii/S2667193X2200031X?via%3Di
hub (in 2017, overall, 8% of women who received an abortion had to cross state
lines for care—this number was vastly higher in states with significant abortion
restrictions).
      40
           Id.



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2022 were from Idaho (almost double the rate from the prior year). 41 Planned

Parenthood reported serving Idaho residents at clinics even further into

Washington, as far as Kennewick and Walla Walla, with drive times of more than

four hours from Boise. 42 In Oregon, providers report an average of 100 to 300

additional abortions performed per month post-Dobbs.43 Providers at Oregon

Health & Science University report that following Dobbs, the majority of OHSU’s

out-of-state patients were from Idaho and Texas.44

     In the six months after Dobbs, the average number of abortions performed per

month in states that ban or severely restrict abortion dropped to ten or fewer. 45 In

Idaho, that number started declining following Dobbs after implementation of


      41
        Megan Burbank, Who is traveling to Washington for abortion care?,
Crosscut (Nov. 14, 2022), https://crosscut.com/equity/2022/11/who-traveling-
washington-abortion-care.
      42
           Id.
      43
         Nicole Rideout, One year since the overturn of Roe, OB/GYNs report
devastating impacts from lack of abortion access, OSHU News (June 24, 2023),
https://news.ohsu.edu/2023/06/24/one-year-since-the-overturn-of-roe-obgyns-
report-devastating-impacts-from-lack-of-abortion-access.
      44
         Id. Similarly, Planned Parenthood Columbia Willamette reported most of
their out-of-state abortion patients are from Idaho. Kandra Kent, Oregon sees
uptick in abortion travel, most out-of-staters come from Idaho, KPTV (Nov. 8,
2022), https://www.kptv.com/2022/11/08/oregon-sees-uptick-abortion-tourism-
most-out-of-staters-come-idaho//.
      45
         Society of Fam. Plan., #WeCount Report, April 2022 to March 2023, at 9,
12 (Jun. 15, 2023), https://societyfp.org/wp-
content/uploads/2023/06/WeCountReport_6.12.23.pdf.



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Idaho’s abortion ban in August 2022, and dropped to less than ten per month

beginning in September 2022 (compared to 170 per month pre-Dobbs, in April and

May 2022 and 150 per month in July and August 2022). 46

     As a result, pregnant individuals from Idaho and other abortion-restricting

States crossed state lines to obtain services in even greater numbers.47 According to

one study, the average distance for Idahoans to obtain abortion increased from 40

miles to 178 miles between March 2022 and March 2023.48 In Washington, one

year post-Dobbs, Planned Parenthood clinics have seen a 56% increase in Idaho

patients and a 36% increase in out-of-state abortion patients, increasing


      46
           Id.
      47
          E.g., Angie Leventis Lourgos, Abortions in Illinois for Out of State
Patients Have Skyrocketed, Chi. Trib. (Aug. 4, 2022),
https://www.chicagotribune.com/news/breaking/ct-illinois-abortion-increase-post-
roe-20220802-eottdwcfnjfjxdvbfgd4kwefwu-story.html (reporting a 700% increase
in the number of out-of-state patients served in Illinois); Matt Bloom & Bente
Berkland, Wait Times at Colorado Clinics Hit Two Weeks as Out-of-State Patients
Strain System, KSUT (July 28, 2022), https://www.ksut.org/health-science/2022-
07-28/wait-times-at-colorado-abortion-clinics-hit-2-weeks-as-out-of-state-patients-
strain-system (100% increase in wait times than before Dobbs); Marielle Kirstein
et al., 100 Days Post-Roe: At Least 66 Clinics Across 15 US States Have Stopped
Offering Abortion Care, Guttmacher Inst. (Oct. 6, 2022),
https://www.guttmacher.org/2022/10/100-days-post-roe-least-66-clinics-across-15-
us-states-have-stopped-offering-abortion-care (discussing how the “dramatic
increases in caseloads mean clinic capacity and staff are stretched to their limits,
resulting in longer wait times for appointments even for residents of states where
abortion remains legal”).
      48
         Caitlin Myers et al., Abortion Access Dashboard,
https://experience.arcgis.com/experience/6e360741bfd84db79d5db774a1147815.



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Washington’s total number of abortion patients by 18%. 49 And the Northwest

Abortion Access Fund, which provides financial and travel assistance to people

seeking abortions, saw a 61% increase in the abortion funding it distributed

compared to the same period in the year before Dobbs.50 In Colorado, in the six

months following Dobbs, 94% of individuals seeking assistance from an abortion

fund were from out of state.51 An Illinois clinic reported patients from States other

than Missouri and Illinois rose to 40% of cases, compared to 5% before Dobbs.52

In California, since Dobbs, demand has skyrocketed at many clinics—with

increases ranging from 400% to 513% to even 900% in some counties.53 In


      49
         Lauren Gallup & Rachel Sun, Number of Idaho abortion patients
traveling to Washington up 56% after Roe overturned, OPB (July 10, 2023),
https://www.opb.org/article/2023/07/10/idaho-abortion-patients-traveling-to-
washington-increases-56-percent-after-roe-overturned/ (comparing data from
January–May 2022 to data from January–May 2023).
      50
           Id.
      51
         Hannah Metzger, Colorado Democrats advance ban of ‘deceptive’ ads,
‘abortion reversal’ for crisis pregnancy centers, Colo. Politics (Mar. 30, 2023),
https://www.coloradopolitics.com/legislature/democrats-target-abortion-reversal-
crisis-pregnancy-centers-colorado/article_e5c4fa2e-cf1d-11ed-bff6-
ef208a330dd2.html (In January 2023, 750 out-of-state people traveled to Colorado
Planned Parenthoods for abortion care, compared to 1,500 total during all of 2021).
      52
           González & Cobler, supra note 37.
      53
          Marisa Kendall, Demand has quadrupled at some California abortion
clinics since Roe fell, Mercury News (Jan. 1, 2023),
https://www.mercurynews.com/2023/01/01/demand-has-tripled-quadrupled-at-
california-abortion-clinics-since-roe-fell/; Cindy Carcamo, A California desert
town has long been an abortion refuge for Arizona and Mexico. Now it’s


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Nevada, since June 2022, Las Vegas has seen a 37% increase in out-of-state

patients at Planned Parenthood health centers. More than 1,200 patients came to

Las Vegas from out of state, including Idaho. 54 And a Planned Parenthood clinic in

Massachusetts reported an estimated 37.5% increase in out-of-state patients, driven

largely by patients from outside New England. 55

     When Idaho hospitals and providers do not provide emergency abortion care

required by EMTALA, Amici’s healthcare systems will inevitably feel additional

strain, with potentially severe health and economic effects.56 For example, a


overwhelmed, L.A. Times (July 20, 2022),
https://www.latimes.com/california/story/2022-07-20/planned-parenthood-clinic-
in-this-conservative-desert-town-is-now-a-refuge-for-arizonans-seeking-abortions;
Karma Dickerson, More out-of-state patients begin arriving in California for
reproductive health services, Fox 40 News (Sept. 20, 2022),
https://fox40.com/news/fox40-focus/out-of-state-patients-reproductive-health-
abortion-california/; Planned Parenthood centers in SoCal report dramatic
increase in abortion patients from out of state, ABC 7 News (July 6, 2022),
https://abc7.com/planned-parenthood-abortion-orange-county-san-
bernardino/12023682/.
      54
         Jessica Hill, Las Vegas sees big spike in out-of-state abortion seekers, Las
Vegas Rev.-J. (updated June 27, 2023),
https://www.reviewjournal.com/news/politics-and-government/nevada/las-vegas-
sees-big-spike-in-out-of-state-abortion-seekers-2800219/.
      55
         Brianna Keefe-Oates et al., Use of Abortion Services in Massachusetts
After the Dobbs Decision Among In-State vs Out-of-State Residents, JAMA
Network Open, e2332400 (Sept. 6, 2023).
      56
          See Claire Morley et al., Emergency department crowding: A systematic
review of causes, consequences and solutions, 13 PLOS ONE e0203316 (2018),
https://journals.plos.org/plosone/article?id=10.1371/journal.pone.0203316;
Matthew Foley et al., Financial Impact of Emergency Department Crowding, 12


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pregnant patient in Tennessee, at risk of severe preeclampsia, was forced to take a

six-hour ambulance ride to North Carolina for care, but because of the delay and

travel, arrived with dangerously high blood pressure and signs of kidney failure,

undoubtedly requiring more Amici resources to provide this more intensive critical

care. 57

      Emergency departments are already struggling with overcrowding, long wait

times, and staff shortages, especially in rural and underserved areas, including

those parts of Oregon and Washington that border Idaho. 58 Any additional influx of

patients needing urgent care to address medical emergencies will aggravate these

stresses, increasing delays, morbidity, and mortality for all people needing

emergency care. 59 Indeed, emergency department overcrowding can broadly lead


W. J. Emergency Med. 192-97 (May 2011),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3099606/.
       57
            Kusisto, supra note 37.
       58
          See Stephen Bohan, Americans Deserve Better Than ‘Destination
Hallway’ in Emergency Departments and Hospital Wards, STAT News (Aug. 1,
2022), https://www.statnews.com/2022/08/01/americans-deserve-better-than-
destination-hallway-emergency-department/ (discussing increasing demands for in-
patient and emergency hospital services); Gabor Kelen et al., Emergency
Department Crowding: The Canary in the Health Care System, NEJM Catalyst
(Sept. 28, 2021), https://catalyst.nejm.org/doi/full/10.1056/CAT.21.0217 (“Even
prior to the Covid-19 pandemic, greater than 90% of U.S. [Emergency
Departments] found themselves stressed beyond the breaking point at least some of
the time.”).
        Kelen et al., supra note 58 (describing emergency department
       59

overcrowding as a widespread problem and source of patient harm and “[t]he


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to more than a 5% increased mortality rate for patients experiencing medical

emergencies.60 These harms are generally felt most acutely by racial and ethnic

minorities, who already experience disparities in healthcare access and outcomes. 61

Reversing the district court’s order enjoining enforcement of Idaho’s abortion ban

to the extent it conflicts with EMTALA will worsen those disparities, harming

Amici, their healthcare systems, and their residents.




impact of [emergency department] overcrowding on morbidity, mortality, medical
error, staff burnout, and excessive cost is well documented”).
      60
         Sarai Rodriguez, Emergency Department (ED) Overcrowding Leads to
Worse Health Outcomes, Patient Engagement HIT (Nov. 14, 2022),
https://patientengagementhit.com/news/emergency-department-ed-overcrowding-
leads-to-worse-health-outcomes.
      61
         See Commonwealth Fund, supra note 35; Priya Pandey, A Year After
Dobbs: People with Low Incomes and Communities of Color Disproportionately
Harmed, Ctr. L. & Soc. Pol’y (June 23, 2023), https://www.clasp.org/blog/a-year-
after-dobbs-people-with-low-incomes-and-communities-of-color-
disproportionately-harmed/; Samantha Artiga et al., What are the Implications of
the Overturning of Roe v. Wade for Racial Disparities?, KFF (Jul. 5, 2022),
https://www.kff.org/racial-equity-and-health-policy/issue-brief/what-are-the-
implications-of-the-overturning-of-roe-v-wade-for-racial-disparities/; Sarahn
Wheeler & Allison Bryant, Racial and Ethnic Disparities in Health and Health
Care, 44 Obstet Gynecol Clin. N. Am. 1-11 (Mar. 2017).

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                                 CONCLUSION
      The District Court’s Order enjoining enforcement of Idaho’s abortion ban to

the extent it conflicts with EMTALA should be affirmed.

Dated: September 15, 2023

                                          Respectfully submitted,

LETITIA JAMES                             ROB BONTA
 Attorney General                          Attorney General
 State of New York                         State of California
Barbara D. Underwood                       Renu R. George
 Solicitor General                          Senior Assistant Attorney General
Ester Murdukhayeva                         Karli Eisenberg
 Deputy Solicitor General                   Supervising Deputy Attorney
Galen Sherwin                              General
 Special Counsel for Reproductive
Justice                                   . /s/ Hayley Penan              _
Sarah Coco                                 Hayley Penan
 Assistant Solicitor General               California State Bar No. 313693
N.Y. State Bar No. 5783790                  Deputy Attorney General

Office of the Attorney General               California Department of Justice
28 Liberty St.                               1300 I Street
New York, NY 10005                           P.O. Box 944255
(212) 416-6312                               Sacramento, CA 94244-2550
(212) 416-8962 (fax)                         (916) 210-7785
Sarah.Coco@ag.ny.gov                         Hayley.penan@doj.ca.gov




(Counsel listing continues on next
page.)



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KRISTIN K. MAYES                            AARON D. FORD
 Attorney General                            Attorney General
 State of Arizona                            State of Nevada
2005 N. Central Ave                         100 North Carson Street
Phoenix, AZ 85004                           Carson City, NV 89701

PHILIP J. WEISER                            MATTHEW J. PLATKIN
 Attorney General                            Attorney General
 State of Colorado                           State of New Jersey
1300 Broadway                               25 Market Street
Denver, CO 80203                            Trenton, NJ 08625

WILLIAM TONG                                RAÚL TORREZ
 Attorney General                            Attorney General
 State of Connecticut                        State of New Mexico
165 Capitol Avenue                          P.O. Drawer 1508
Hartford, CT 06106                          Santa Fe, NM 87504

KATHLEEN JENNINGS                           JOSHUA H. STEIN
 Attorney General                            Attorney General
 State of Delaware                           State of North Carolina
820 N. French Street                        114 W. Edenton Street
Wilmington, DE 19801                        Raleigh, NC 27603

ANNE E. LOPEZ                               ELLEN F. ROSENBLUM
 Attorney General                            Attorney General
 State of Hawai‘i                            State of Oregon
425 Queen Street                            1162 Court Street NE
Honolulu, HI 96813                          Salem, OR 97301

KWAME RAOUL                                 MICHELLE A. HENRY
 Attorney General                            Attorney General
 State of Illinois                           Commonwealth of Pennsylvania
100 West Randolph Street                    Strawberry Square, 16th Floor
Chicago, IL 60601                           Harrisburg, PA 17120




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AARON M. FREY                               PETER F. NERONHA
 Attorney General                            Attorney General
 State of Maine                              State of Rhode Island
6 State House Station                       150 South Main Street
Augusta, ME 04333                           Providence, RI 02903

ANTHONY G. BROWN                            CHARITY R. CLARK
 Attorney General                            Attorney General
 State of Maryland                           State of Vermont
200 Saint Paul Place, 20th Floor            109 State Street
Baltimore, MD 21202                         Montpelier, VT 05609


ANDREA JOY CAMPBELL                         ROBERT W. FERGUSON
 Attorney General                            Attorney General
 Commonwealth of Massachusetts               State of Washington
One Ashburton Place                         P.O. Box 40100
Boston, MA 02108                            Olympia, WA 98504


DANA NESSEL                                 JOSHUA L. KAUL
 Attorney General                            Attorney General
 State of Michigan                           State of Wisconsin
P.O. Box 30212                              17 W. Main Street
Lansing, MI 48909                           Madison, WI 53703


KEITH ELLISON                            BRIAN L. SCHWALB
 Attorney General                         Attorney General
 State of Minnesota                       District of Columbia
102 State Capitol                        400 6th Street, NW, Suite 8100
75 Rev. Dr. Martin Luther King Jr. Blvd. Washington, D.C. 20001
St. Paul, MN 55155




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